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Pat Quinn
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Corrections | Director

Stateville Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844

MEMORANDUM WO ee

DATE: May 1, 2012

 

TO: Gerald Reed — N32920
Unit F-258

FROM; Anna McBe
Grievance Offi

‘SUBJECT: GRIEVANCE #1246
- The attached grievance is being returned for the following reason:

It needs to be rewritten and submitted to your counselor on the attached
IDOC Offender’s Grievance form.

It was not filed within 60 days of discovery of the incident, occurrence, or
problem which gives rise to.the grievance as required in DR 504F, Grievance
Procedures for Committed Persons.

Issue needs to be discussed with your counselor for possible resolution.

No issue outlined in grievance. .

It appears that no attempt has been made to resolve the issue as required by DR
504F.

Issue is currently being reviewed by the Office. * You will recive a copy of the
Grievance and decision when it is completed.

Xx Issue previously addressed on 3/21/12. No justification for further action.

Other:

ce: file

 

 
| mo Case: t12-cv-08962 CREE SF hitindis Lo Bepar kG Page 1s of 47 PagelD #:15

Corrections Disciplinary Tracking Inmate
‘ Disciplinary Card

Name: REED, GERALD

Transferred In: 1994-04-26

Incident Date

Incident/Summ#/inst.

Disciplinary History from 1/4/1998 through 12/13/2044
% en im

IDOC # :N32920
Living Unit: STA/X /LC/11

 

 

 

 

 

 

 

 

 

Ticket Type Offense Codes, Descriptions Disciplinary Action
3/31/2001 404 Violation Of Rules Guilty Verbal Reprimand
200101344/1-STA Comments: Inmate Handbook pg. 18,19.
Minor
4/8/2001 206 Intimidation Or Threats Not Guilty 3 Months Commissary Restriction
200101428/1-STA 304 Insolence Not Guilty
Major 402 Health,Smoking Or Safety Violations Guilty
9/30/2001 402 Health,Smoking Or Safety Violations Guilty i Months C Grade/Level
200105186/1-STA 404 Violation Of Rules Not Guilty 3 Months Commissary Restriction
Major
40/28/2002 406 Trading Or Trafficking Guilty 2 Months Library Restriction
200204846/1-STA Comments: Passing notes in library. .
Major
8/27/2005 202 Damage Or Misuse of Property Guilty 2 Months C Grade/Level
200502497/1-STA 404 Violation Of Rules Not Guilty 10 Days Segregation
Major Comments: flushed razor down toilet Other : TIME SERVED

3 Months Commissary Restriction
8/3/2009 - 202 Damage Or Misuse of Property Guilty 2 Months C Grade/Level
200901593/1-STA 305 Theft Guilty 1 Months Segregation
Major 403 Disobeying A Direct Order Guilty Rettution of $ 5.06 Paid to Stateville C. C.
2/28/2011 308 Contraband/Unauthorized Property Guilty 1 Months C Grade/Level
201100533/1-STA Comments: Burnt paper clips. 18 Days Segregation
Major 1 Months Commissary Restriction
7130/2011 202 Damage Or Misuse of Property Guilty 1 Months Commissary Restriction
201101604/1-STA Reduced to : 308 . oe
Major Comments: Line. hanging in celt
9/17/2011 301 Fighting Guilty . 1 Months C Grade/Level

201102083/1-STA
Major

____.1 Months Segregation

1 Months Commissary Restriction

 

Run Date: 12/13/2011 12:56:11

 

Page 1 of 1
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, ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT
Name: REED, GERALD «IDOC Number: N32920 Race: BLK
Hearing Date/Time: 9/28/2011 08:52 AM Living Unit: STA-X-LC-11 Orientation Status: N/A
Incident Number: 201102053/1 - STA Status: Final
Date Ticket # Incident Officer Location Time
9/17/2011 201102053/1-STA WALKER, DAPHINE X-HOUSE 12:35 PM
Offense Violation Final Result
301 Fighting Guilty
Witness Type Witness ID Witness Name Witness Status

 

No Witness Requested

 

RECORD OF PROCEEDINGS

Offender Reed N32920 is present and the IDR is read. Offender Reed submitted a written statement to this Committee
that was reviewed and then attached to the IDR.

BASIS FOR DECISION

1. The OTS housing unit map verifies that Offender Reed N32920 was assigned to Stateville, Unit X-LC-03 on 9/17/2011.
2. The IDR submitted by C/O Walker indicates she witnessed a 10-10 (fight) in progress, that Offender Reed was bent
over at the cell door being attacked with a medical crutch by Offender Reese R62423 and that Lt. Shivers utilized
chemical agents to stop the fight.

3. C/O Walker indicates that both Offenders were seen by medical staff.

4, Offender Reed was positively identified.

5. After contacting the health care unit staff, this Committee was informed that Offender Reese R62423 was treated for
an injury'to the head on 9/17/2011 which leads this Committee to believe that both Offenders Reed and Reese were
fighting. Therefore this Committee finds Offender Reed N32920 in violation of the written infraction.

DISCIPLINARY ACTION (Consecutive to any priors)

 

 

RECOMMENDED FINAL
1 Months C Grade ; 1 Months C Grade
1 Months Segregation 1 Months Segregation
1 Months Commissary Restriction ~ 4 Months Commissary Restriction

Basis for Discipline-Nature of Offense

 

 

 

 

Signatures

Hearing Committee a

BISHOP, YVONNE E - Chair Person 09/28/11 BLK
: - ~ ‘Signature oo Date Race

THOMPSON, MARGARET M . . 09/28/11 WHI
; , Signature Date Race

Recommended Action Approved

 

Final Comments: N/A

Run Date: 12/13/2011 13:00:48 Page 1 of 2

 
 

Loy Ly -cye - 1 Filed: 17 of 47 PagelD #:17
0 CSS STE GPICONGIS™ DEPARTMENT OF CORRECTIONS”

 

 

 

\ ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT
Name: REED, GERALD .1DOC Number: N32920 Race: BLK
Hearing bate/Time: 9/28/2011. 08:52 AM Living Unit: STA-X-LC-11 Orientation Status: N/A
Incident Number: 201102053/1 - STA Status: Final
MARCUS HARDY /LKS 10/6/2011 10/06/11
Chief Administrative Officer , Signature ‘Date

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

NICCOELLE E JACKSON 40/12/2011 01:30 PM
Employee Serving Copy to Committed Person When Served - - Date and Time

 

Run Date: 12/43/2011 13:00:48 Page 20f2

 
 

Case: REwppe “Rallies ‘Jed: 10/25/12 PEGE AS pia PagelD #: 18

 

 

 

 

 

Offe Report
“Type of Report: orev iee ope Date: WIT Aen
[] Disalptinary oO Investigative ~ Facility ;
Offender Name: “Reeve a ws RG24ae

 

 

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servation Date: - 1 T- Zoi A proximate Tine Bon x Hou Lo-64
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used an -Medicat Crutcn as an Weapon SHEV King i]M Raed * N 22420
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oF cel) and (ue yo “ta Reese CUPrenk We ord was Keynovedd tKom cell.
Witness(es): 1} M1 Raege. as idtritud by brs stete TD —— nd oF Keporet
inaty Continuation Page, DOC 051p°8 attached te/Hascribe additional facts, observations or witnesses.

7-17: d Au fom

 

 

 

 

 

  

 

 

 

 

Disciplinary Action:

 

  

Reviewing Officer's Decision: [] Confinement reviewed by Reviewing Officer Comment:
{3% Major Infraction, submitted for Hearing investigator, if necessary and to Adjustment Committee

 

Cy Minor infraction, submitied to Program Unit - >
Prajson *ounatenst WES <i F. FAG >
Print Reviewing Officer's Name and Badge # ne / Date

 

 

 

 

Procedures Applicable to all Hearings on investigative and Olscipiinary Reports

 

 

 

 

 

 

You have the right to appear and present a written or oral statement or eg ig the charges. You may p | physical material such
€@S records or documents,

Proced Applicable to Hearings Cond d by the Adj «. ittes on Disciplinary Reports
You may ask that witnesses be interviewed and, if necessary and relevant, they muy be called to tesiify during your hearing. You may ask that winesses be
Questioned along lines you suggest, You must t in ofthe g the you wish to have interviewed and specify what they could
testy toby Gling oat the aperopriate space on this form, tearing kt of, and retuming {to the Adjustment Committee. You may have stalf assisiance # you are

unable to prapere a defense. ‘You may of time to prepase for your heari
Nene ee tan . f
; - Offender's Signature De

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Naine)

9 /52/ peewee IS ln .
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C1 thereby agree to waive 24-hour notice of charges prior to the discipliz’

 

 

 

Offender's Signature : (OF

(Detach and Retum te the Adjustment Committee or Program Unit Prior to the Hearing)

 

Date of Discipiinary Report Print offender's name (De

i am requesting that the Adjustment Committee or Program Unit consider calling the following witnesses regarding the Cisciplinary Report
‘of the above date:

 

 

 

Print Name of winess Witness badge or iD¥ Assigned ter Tite (if applicable)
- _ tt applicabte)
Witness can testify to:
Pant Name of winess Witness badge or De ‘Aeaigned Gol Fide (H applicable)
‘ / @appiicabie)

Witness can testify to:

 

‘Page of ' .
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Case: 13 PATH OR ILBINO eri BEPARIMENT OF CQRRECTIONSagelD #:19

 

 

 

 

 

ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT
Name: REESE, WILLIS IDOC Number: R62423 Race: BLK
Hearing Date/Time: 9/28/2011 09:00 AM Living Unit: STA-F-01-47 Orientation Status: N/A
incident Number: 201102054/1 - STA Status: Final
Date Ticket # Incident Officer Location Time
9/17/2011 201102054/1-STA WALKER, DAPHINE X-HOUSE 42:35 PM
Offense Violation Final Result
102 Assauiting Any Person - Inmate Guilty
Comments:beat Reed M32920 with crutch
104 Dangerous Contraband Not Guiity
Comments: unsubstantiated
202 Damage Or Misuse of Property Guilty
301 Fighting Guilty
403 Disobeying A Direct Order Guilty
404 Violation Of Rules Not Guilty
Comments:inmate handbook
Witness Type Witness ID Witness Name Witness Status

 

No Witness Requested

 

RECORD OF PROCEEDINGS

Offender Reese R62423 is present and the IDR is read. Offender Reese. states when he returned to the cell from the yard,
he noticed his stuff had been moved around, so he asked his cellie what happened. States his cellie didn't respond to him,
so he asked again. States his cellie then raised up at him, they grabbed each other simultaneously, fell onto the bed and
then his cellie hit him in the head with a tray, so he hit him back and commenced to beating his ass with the crutch. States
he was treated in the HCU for an injury to the head. States he didn't hear anyone tell him to stop because he was pissed
and defending himself. States he was in Unit X-LC-03 during the time and date of incident.

BASIS FOR DECISION

1. Offender Reese R62423 admits to being in Unit X-LC-03 on 9/17/2011.

2. Offender Reese admits to fighting with his cellmate Reed N32920 on 9/17/2011 and to beating Offender Reed with a
crutch.

3. The IDR submitted by C/O Walker indicates that she witnessed a 10-10 (fight) in progress where Offender Reese used

a medical crutch as a weapon, striking Offender Reed several times and refused her direct order to stop. Due to Offender
Reese's refusal to stop striking Offender Reed with a crutch, Lt. Shivers utilized chemical agents on Offender, Reese to
make him stop striking Offender Reed to which he (Reese) complied.

4. Offender Reese was positively identified.

5. This Committee reasonably finds Offender Reese R62423 i in violation of the written infractions.

DISCIPLINARY ACTION (Consecutive io any priors)

 

 

RECOMMENDED FINAL
6 Months C Grade 6 Months C Grade
6 Months Segregation 6 Months Segregation
6 Months Commissary Restriction ; 6 Months Commissary Restriction

Basis for Discipline:nature of offense

 

Signatures
Hearing Committee

BISHOP, YVONNE E - Chair Person 09/28/11 BLK

 

Signature Date Race

Run Date: 3/21/2012 07:39:17 Page 1 of 2 .

 
. Case: 1 STATE OR ILDINGIS nt DEPARTMENTIOP CGORRECTIONSage|D #:20

 

 

 

 

 

 

 

 

ADJUSTMENT COMMITTEE
FINAL SUMMARY REPORT
Name: REESE, WILLIS IDOC Number: R62423 Race: BLK
Hearing Date/Time: 9/28/2011 09:00AM. Living Unit: STA-F-01-47 Orientation Status: N/A
incident Number: 201102054/1 - STA Status: Final
Signatures
Hearing Committee
THOMPSON, MARGARET M 09/28/11 WHI
Signature Date Race
Recommended Action Approved
Final Comments: N/A
MARCUS HARDY /LKS 10/6/2014 10/06/11
Chief Administrative Officer Signature Date

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

NICCOELLE E JACKSON 40/12/2044 01:30 PM
Employee Serving Copy to Committed Person When Served - - Date and Time

 

Run Date: 3/21/2012 07:39:17 Page 2 of 2

 
’ Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 21 of 47 PagelD #:21.__

ILLINGIS DEPARTMENT OF CORRECTIONS ~

 

  

 

 

 

 

 

 

OFFENDER'S GRIEVANCE
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- Present Facility: . | Facility where grievance ' oy . ; a
STH Valle CG issue occurred: Sie Ce, Vv LC: F-HY
- 7 t
NATURE OF GRIEVANCE: SEP. 28 201
C) Personal Property [] Mail Handling [J Restoration of Good Time Ef Disabitity 22
Rd” Staff Conduct CI Dietary ~ - ( Medical Treatment — CI HIPAA
C] Transfer Dénial by Facility (1). Transfer Denial by Transfer Coordinator . kf Other « (pci:
[1] Disciptinary Report: _¥ i721 etl bale it Yosh 1 feszqoug Ae Tear iH 2 Pde
. Date of Report Facility where issued

Note: Protective. Custody Denials may be grieved immediately via the focal administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document {such as a Disciplinary Report, Shakedown Record, afc.) and send to:

Counsetor, uniess the issue involves discipline, is deemed an emergency, or is subject to. direct review by the Administrative Review Board.
Grievance Officer, only if the issue-involves discipline at the present facility ar issue not resolved. by Counselor,
Chief Administrative Officer, only if EMERGENCY grievance.

, Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, Involuntary
administration. of psychotrapie drugs, Issues from another facility except personal property issues, 6r SSUES fidt resolved by ifié Chief

. ” Administrative Officer.

Brief Summary of Grievance: . Oxd Sepiesvbs IM2ul, Ay Hint /25pyy wks ATRMEO
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dleog wish his col Oe HUE EL SIS AniO ABE feng @ hebepscn Jan 26)

x Check only if this is an EMERGENCY g grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to self. :

/) of 3 ,
eK alll Berl) Al3a8a9 9 a) tl
f Offenders Signature iD¥ Date
{Continue on reverse side if necessary) -

 

 

| Counselor's Response Gf applicable) |
Date

Received: AQ} oh Li {1 Send directly to Grievance Officer [7] Outside jurisdiction of this facility. Send to

Administrative Review Board, P.O, Box 19277,
Springfield, iL 62794-9277

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Response: Downe. R G2 423 is. A¢ 2 te. ja cep Cae he ge ae? etl

 

 

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* “Print Counselors Name Cotinsejor's Signature ~~ Date of Response

 

 

| EMERGENCY REVIEW |

Date 2 G ‘
Received: 7 / f t | ts this determined to be of an. smergency nature? [[] Yes; expedite emergency grievance

No; an emergency is not substantiated,
Offender should submit this grievance
in the normal manner.

229 , tl)

. Date

 

Chief Aaminisifative Officer's Signature

 

 

 

 

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ILLINOIS DEPARTMENT OF-GORRECTIONS |
. OFFENDER’ S GRIEVANGE (Continaed)

 

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| cae ey _ | OFFENDER'S GRIEVANCE |
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NATURE OF GRIEVANCE: co .
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" Staff Conduct C1 Dietary © - (©) Medical Treatment CV HIPAA.”
oO Transfer Dénial-by Facility QO. Transfer Denial by Transfer Coordinator _ CD Other cspedity:
Ch Disciplinary Report: G “2 12 2 CF: f 4 Z Zo] & petstebs/ ples gh oh dt
- Date of Report Facility wher issued.

Note: Protective Custody Denials may be grieved immediately via the. locat administration on the protective custody siatus notification.

Complete: Attach a copy: of: ‘any. pertinent document, (such as a: Disefplinar ry. Report, kedown Record, atc.) and send. tox: ;

Counselor, unless the-issue involves. discipiirie; ‘is deemed-an ‘erhergéncy; bject ‘to ditect review by the ‘Ad istrative Review. Board.
Grievarice.Officer, only-if the i issue. involves discipline at the present facility or issue not resolved-by Counselor.” .
Chief Administrative Officer, only if EMERGENCY grievance. :
, Administrative Review Board, only if the issue involves transfer denial by the Transfét Coordinator, protective custody,. involuntary :
_ 1 administration of psychotropic drugs, lssues from another facility except personal property issues, or issiies | ot fesolved byihe Chief - Le
a Fs : Administrative Officer:

. Brief Summary ofGrievance: _ (Arf Aeeobee 12. oll, On dice hse) al mek
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Print Counselor's Name “Counselor's Signature" — Date of Response:
| EMERGENCY REVIEW |
Date _ a
Received: fs this determined to be of an emergency nature? [7] Yes; expedite emergency.grievance fae
: q No; an emergency is not substantiated. «
Offender should submit this-griavance. - .
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* Chief Adriinistrative Officers Signature . vee , wens ADA ee ua .
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. OFFENDER’ s GRIEVANCE: (Contintied) -

 

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EK. Butkiewicz
Correctional Counselor H
Stateville Correctional Center

Date: i 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Pat Quinn
Illinois Governor
Department of S. A. Godinez
Corrections Director

  

Stateville Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844

MEMORANDUM
DATE: March 20,2012
TO: Gerald Reed N32920

F 258

FROM: Jerry Baldwin
Casework Supervisor

SUBJECT: Status of grievances

 

‘This is to inform you that grievance dated 10/18/11 regarding IDR 9/17/11 has been received by the —
Grievance Office and is under review at this time. Also, grievance dated 8/30/11 regarding staff conduct
and other- harassment by staff (submitted as an emergency) was declared not to be an emergency and
returned via institutional mail on 9/28/11.

Any further grievance questions shall be forwarded to your respective counselor.

Cc: file
Master file
Counselor Harris
Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 29 of 47 PagelD #:29

 
    

Pat Quinn

lilinois | Governor
Department of
P en’ © S. A. Godinez

Corrections = Director

Stateville Correctional Center / Rt. 53/ P.O. Box 112/ Joliet, iL 60434 / Telephone: (815) 727 -3607 / TDD: (800) 526-0844

MEMORANDUM yu

 

DATE: November 15, 2011

TO: INMATE GERALD REED
N32920 (F-114)

 

FROM: Darryl! M. Edwards
Assistant Warden of Programs

SUBJECT: DISCIPLINE

This is in response to your letter that you were assaulted and you shouldn't have
received discipline. Please be advised that the Adjustment Committee hears from all
involved and finds guilt. If you are dissatisfied with the decision you may utilize the
Grievance process.

| trust this has been responsive to your inquiry.

DME: dv

ce: Master File N32920- -
Chron. -
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Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 30 of 47 PagelD #:30

 

 

 

 

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_ Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 31 of 47 PagelD#:31 ——™

 

 

 

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Case: 1:12-cv-08582 Document # 1 Filed: 10/25/12 Page 32 of 47 PagelD #:32

 

 

 

 

 

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sos" Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 33 of 47 PagelD #:33

 

 

 

 

 

 

 

 

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Offender Disciplinary Report ?
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Disciplinary oO Iivestigative ‘os Faclily
Y eS _ Lk lane
Offender Name: Reed wee ie NW2ATZ0

 

 

 

Observation Date: 4-11-20 0 Approximate Time: {Qa fem Location: \- Howse towcoe Ante 05
Offense(s): DR 504: 301 fahting

Observation: (NoTE: Each offense Kentiied above must be substantiated ) On above date mad APPROX. Time’

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Tame, ‘Reed Was idend Fred by his State Lp. K4- ( Mayer EN Geevey

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Witness(es):
[1 Check if Offender Disciplinary Continuation Page, DOC 0318 és attached toMescribe additional facts, observations or witnesses.

 

 

Dp. Walker . TEYB WW. WHT 1~i7F- ¢) Bile _ Bem

 

_-Reporting Employee (Print Name) Badge # Signature Date Time

 

 

earing Investigator’s Review Required (Adult Correctional Facility sie Reports Only): |
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Disciplinary Action: ob Ao
ome Confinement HE Investigative eo ne

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(For Transition oners, yar Chi ministrative OO

Reviewing Officer's Decision: oO Confinement reviewed by Reviewing Officer Comment:

Major Infraction, submitted for Hearing Investigator, if necessary and to Adjustment Committee
Min tafraction, submited to Program Unit

 

 
 
 

 

 

ng Officer's Name and Badge # Reviewing Officer’ Sianature Date 7

 

Print Heari ing investigator's Name and Badge # investi alor's Sighat re Date
= Hearing Ms 7

Procedures Applicabie to all Hearings on Inv: f igative and Disciplinary Reports

You have the right to agpear and present a written or oral statement or explanation concerning the charges. You may present relevant physical material such
as records or documents.

Procedures Applicable to Hearings Conducted by the Adjustment Committee on Disciplinary Reports
You ay a ask that winesses be interviewed and, if necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
que: ed along lines you suggest. You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
testy 3 by filling out the appropriate space on this form, tearing it off, and returning It to the Adjustment Committee. You may have staff assistance if you are
unable io prepare a defense. You may request a reasonable extension of time to prepare for your hearing.
if offender refused to sign

\ Offender's Signature

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4 The chy 103 Som ae

Date'Served Time Servéd
’ OI hereby agree to waive 24-hour natice of charges prior to the disciplinary hearing.

 

 

 

Offender's Signature iD#

(Detach and Return to the Adjustment Committee or “7 Unit Prior to the Hearing)
' >
out eb fe Le al PUA)

Date of Disciplinary Report Print offender's name “C

 
ILLNos DEPARTMENT oF CORRECTIONS: -

‘Case: 1:12-cv-08582 Document #: 1 Filed: 10/25/12 Page 38 of 47 PagelD lt

 

 

 

 

 

 

 

 
   

OFFENDER'S GRIEVANCE oo
Date: _« 6 : , ’ Offender: / ye —_ ' Oe OL
ala HM ____| (Please. Pring GEXHIO Aeeq)
- Present Facility: STAG _| Facility where grievance ;
: LEV lls fe CO, _L issue occurred: SHFEV EY 4
NATURE OF GRIEVANCE: .:
Personal Property _ [1 Mail Handling [) Restoration of Good Time J oudeibe? ¢ P 38 aut
of Staff Conduct [) Dietary — [) Medical Treatment — re HIPAA @
[] Transfer Denial by Facility oO Transfer Denial by Transfer at Coordinator a BY Oty ge Me:
0 Disciplinary Report: L !

 

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Date of Report . * _ Facility where issued

‘ Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

‘Complete: Attach a copy of any pertinent document uch as a Disciplinary Report, Shakedown Record, ete.) arid send to: a

Counselor, unless the issue involves discipline, is:deemed an.emesgency, or is subject to direct review by the Administrative Review, Board. |
Grievance Officer, only if the issue-invoives discipline at the present facliity or issue not resolved by Counselor. :
-» Chief Administrative Officer, only if EMERGENCY grievance.
: Administrative Review Board, only ifthe issue ffivolves transfer deniat by the Transfer Coordinator, protective. custody, involuntary - -
: Adina 3 fice drugs, | issues from another facility except personal property issues, or issues not resolved by the Chief
ministrative icer.

Brief Summary of Grievance: Col 4h; tage za, al. aE KE Goulg Ap. ct Til 1 the 9 AY
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ch Check only if this i is an EMERGENCY grievance due to a substantial tisk of imminent personal injury or other serious or ffreparable harm to self.

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Counselor’s Response (if applicable) .
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Received: 2 122 142 (CI Send directly to Grievance Officer [1 Outside jurisdiction, of this facility. Send to
Administrative Review Board, P.O, Box 19277,
— Springfield, ik 62794-9277
Response: Dron LE Grech. Cf 2
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Print Counselors Name “Counselor's Signature - “Date of Response

 

 

 

 

 

 
ILLINOIS DEPARTMENT OF CORRECTIONS ©
_ OFFENDER'S GRIEVANCE: (Continued)

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[ OFFENDER'S GRIEVANCE

 

 

 

 

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NATURE OF GRIEVANCE: - ‘
C) Personat Property [] Mail Handling C) Restoration of Good Time [1] Disabil@ra Whe
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(J Disciplinary Report: Gl? Hl Let! Zz Zor/ Js, States y/ Bebregente ops ) (l
. Date of Report Facility whew issued

Note: Protective.Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, atc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, ar is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue-involves discipline at the present facility or issue not resolved:by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.

. Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinater, protective custody, involuntary

. administration of psychotiopic drugs, Issues from another facility except personal property i issues, or issues not resolved by the Chief
Administrative Officer. |

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Counselor’s Response (if applicable) i

Date ,
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Administrative Review Board, P.O. Box 19277,
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Print Counselor's Name

Counselor's Signature = of Races

 

 

 

 

 
 

 

Case: 1:12-cv-08582 Document #: 1 Filed: 10(25442,.Pad¢41,0f47 PagelD #: 41
. OFFENDER'S GRIEVANCE (Continaed)

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OFFENDER'S GRIEVANCE _

 

 

 

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NATURE OF GRIEVANCE: BS ‘| APR 2-7 2012

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Note: Protective Gustody Denials may be grieved immediately vid the. local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document, (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue Involves discipline, is deemed an emergency, of is subject fo direct review by the Administrative Review Board.
Grievarice Officer, only if the issue- Involves discipline at the present facility or Issue not resolved. by Counselor” — .
Chief Administrative Officer, only.if EMERGENCY grievance. ~
, Administrative | Review Board, only if the issue involves transfer deniat by the Transfer Coordinator, protective custody,. involuntary
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Counselor's Response (it apnllcebley 1

 

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Administrative Review Board, P.O, Box 19277,
Springfield, JL 62704-0277

  

 

 

 

 

 

 

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Print Counselor's Name “CounsaigfeSignature = — Date of Response
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Case: 1:12-cv- 08582 Document #: 1 Filed: AUP AR ageAZaat: A7 PagelD # 43 ‘
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vr Disciptnary Report: Ff (7? 7 He : Cal : 9 /as-/u |
, Date of Report, ck at Lie tesued —

Note: Protective: ‘Custody Denials may be grieved. immediately via the focal actinstfation on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such asa Disciptinary Report, Shakedown Record, etc.) and send to:
Counselor, unléss the issue involves discipline, is deemed 4n emergency, ar is subject to direct review by the Adminisrative. Review Board.—--.---}--

7p Grievance Officer; only Fthe issue involves discipline at the present facitity or issue not resolved by Counselor.

 

Chief Administrative Officer, only if EMERGENCY gilavance, . ~ .
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administration:of. Psychotropic: drugs; issues from. another facility. except personal-property Issues, oF issues not resale by the Chief
Administrative” Officer.

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(Continue on reverse side if necessary)

 

 

Counselor's Response (f explicable)

 

 

 

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: oo oo Administrative Review Board, P.O. Box 19277,
Springfield, iL 62794-9277
Response:

 

 

 

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’ Print Couriselor’s Name Counselors Signature - : Date of Response

 

 

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ILLINOIS DEPARTMENT OF CORRECTIONS

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iit K OFFENDER'S GRIEVANCE (Continued)

 

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Distribution: Master File; Offender Page 2 : : ~ -* . DOC 0046(Rev. 3/2005}

 

 
RESPONSE TO COMMITTED PERSON’S GRIEVANCE

 

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Grievance Officer’s Report

 

 

 

Date Received. 3/19/12 Date of Review: . 3/21/12 Grievance # (optional): 876

 

Committed Person: Gerald Reed ID#:_N32920

Nature of Grievance: DR ~ 20ttOgdsa4 St A (timely filed)
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Facts Reviewed: Grievant was issued a DR for 30¥.on 9/17/11 and was found guilty and received one month
Cc grade, segregation and commissary restriction. He wants the disciplinary report expunged.

Grievance Officer finds that after a review of all relative documentation, including the disciplinary report issued
to Offender Reese, R62423, the disciplinary report dated 9/17/11 should be expunged from Offender Reed's
record. Grievance Officer finds that it is clear in both disciplinary reports for this incident, that grievant was
attacked by Offender Reese with a crutch. Offender Reese was found guilty of assault, damage misuse of
property, fighting and disobeying a direct order.

Recommendation: Based upon a total review of all available informa tion, it is recommended that disciplinary
report dated 9/17/11 be EXPUNGED., ‘

 

Anna McBee, CCIf J ) thee

Print Grievance Officer's Name Grievance Officer's Signature
(Attach a copy of Committed Person’s Grievance, including counselor's response if applicable)

 

 

Chief Administrative Officer's Response

Date Received: 3 ee /oh» (1 iconecur . co not concur (] Remand

Comments:

 

 

 

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